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Renewal of: MASIHBN000012712
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                                                               Policy No.: MASIHBN000012714




                                         One International Place, 13th Floor, Boston, MA 02110


Amount:         $AS WITHIN                                    Rate:      FLAT                                  Premium: $66,300 – As Within
                                                                                                               Commission:                   20%


                                                  BY THIS POLICY OF INSURANCE

Does Insure:                    Cashman Equipment Corporation and As Attached.

For the account of:             THEMSELVES

Loss, if any, payable to:       ASSURED OR ORDER

To the Amount of:               AS WITHIN -------------------------------------------                    Dollars

From:     December 31, 2014, 12:01 AM EST                                                 To:           December 31, 2016, 12:01 AM EST

On:       Difference in Conditions/Difference in Limits Hull and Machinery/Protection & Indemnity - As Attached

Subject to all of the terms, conditions and exclusions the form(s) attached hereto:

Taylor Hull Form 1953 (Rev. 70), with lines 39 through 60 deleted;
American Institute Hull War Risks and Strikes Clauses (9/29/09);
Addendum to American Institute Hull War Risk and Strikes Clauses (4/1/84):
AIMU 23 Protection & Indemnity Clauses incl. Collision & Tower’s Liability Endorsements;
American Institute War Risk Protection & Indemnity Clauses (SP-22B);
Difference in Conditions/Difference in Limits Clause; Boom Clause;
AIMU Extended Radioactive Contamination Exclusion w/ USA Buyback;
AIMU Chemical, Biological, Biochemical & Electromagnetic Exclusion;
AIMU US Trade & Economic Sanctions Endorsement; Additional Exclusions & Warranties;
Thirty Day Notice of Cancellation, except ten days for non-payment of premium; Annual Review Clause
Inclusion of Additional Assured/Loss Payee Clause; TRIA Exclusion

           THIS POLICY IS MADE AND ACCEPTED SUBJECT TO the conditions which are hereby specifically referred to and made part of this
Policy, together with such other provisions, agreements or conditions as may be endorsed hereon or added hereto; and no officer, agent or other
representative of this Company shall have power to waive or be deemed to have waived any provision or condition of this Policy unless such waiver,
if any, shall be written upon or attached hereto, nor shall any privilege or permission affecting the insurance under this Po licy exist or be claimed by
the Assured unless so written or attached.
           In Witness Whereof, the Company has caused this Policy to be signed by its President and Secretary, but it shall not be valid unless
countersigned by a duly authorized representative of the Company.




                         General Counsel                                                                              President



Countersigned at Boston, MA                                        By:..........................................................................................
This 25th day of January 2014                                                                    Authorized Representative
                                                                                        Starr Indemnity & Liability Company
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                                Claims Reporting Procedures

All claims should be reported directly to Carolyn O’Connor at VeriClaim, Inc., with a copy to Robert
Fox at Starr Adjustment Services, Inc. Their contact information is as follows:



                            Ms. Carolyn O’Connor
                            Hull and Liability Manager
                            VeriClaim, Inc.
                            120 Broadway - Suite 900
                            New York, NY 10271

                            Email:       coconnor@vericlaiminc.com
                            Direct:      (212) 266-4255
                            Facsimile:   (212) 406-3932
                            Cell:        (917) 330-1954



                            Mr. Robert Fox
                            Regional Claims Manager
                            Starr Adjustment Services, Inc.
                            399 Park Avenue, 9th Floor
                            New York, NY 10022

                            Email:        robert.fox@starrcompanies.com
                            Direct:       646-227-6687
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                                            DECLARATIONS
POLICY NUMBER:             MASIHBN00012714

NAMED ASSURED:             Cashman Equipment Corporation
                           Servicio Marina Superior, LLC
                           CHM Maritime, S.A.P.I. de C.V.
                           Cashman Caspian, LLP
                           Cashman Canada, Inc.
                           Cashman de Colombia S.A.S.

ADDRESS:                   41 Brooks Drive
                           Braintree, MA 02184

POLICY PERIOD:             From:        December 31, 2014, 12:01 A.M. Eastern Standard Time
                           To:          December 31, 2016, 12:01 A.M. Eastern Standard Time

PREMIUM:                   REDACTED   – US Observers Endorsement

                           For reference:

                           Locally Admitted Policies (incl. taxes & fees)
                             CHM Maritime, S.A.P.I. de C.V.               Hull: REDACTED
                             (Collected in US)                            P&I:

                             Cashman Canada, Inc.                       Hull:
                                                                        P&I:

                             Cashman Caspian, LLP                       Hull:
                                                                        P&I:

INSURED VESSELS:           CHM Maritime, S.A.P.I. de C.V.
                           Tug “Ocean Raider 17”
                           Tug “Atlas”
                           Tug “Marina Orion”
                           Tug “Marina Polaris”
                           Tug “Miss Molly”
                           “JMC-2508”
                           “JMC-2509”
                           “JMC-2511”
                           “JMC-2515”
                           “JMC-2516”
                           “JMC-3003”
                           “JMC-3009”

                           Cashman Caspian, LLP
                           “JMC-24”
                           “JMC-44”
                           “JMC-244”
                           “JMC-245”



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                               Cashman Canada, Inc.
                               “JMC-185”

Section I - HULL AND MACHINERY

      Vessel                     Agreed Value           Deductible       Annual Rate Incl. War         Annual Premium

      Tug “Ocean Raider 17”
 1
 2
 3
      Tug “Atlas”
      Tug “Marina Orion”
                                 $4,200,000
                                 $8,000,000
                                 $4,000,000
                                                        $50,000
                                                        $100,000
                                                        $50,000
                                                                        REDACTED
 4    Tug “Marina Polaris”       $4,000,000             $50,000
 5    Tug “Miss Molly”           $10,500,000            $100,000
 6    “JMC-2508”                 $2,900,000             $50,000
 7    “JMC-2509”                 $2,900,000             $50,000
 8    “JMC-2511”                 $2,900,000             $50,000
 9    “JMC-2515”                 $2,900,000             $50,000
 10   “JMC-2516”                 $2,900,000             $50,000
 11   “JMC-3003”                 $5,000,000             $50,000
 12   “JMC-3009”                 $5,000,000             $50,000
 13   “JMC-24”                   $5,000,000*            $150,000
 14   “JMC-44”                   $5,000,000*            $150,000
 15   “JMC-244”                  $1,450,000*            $150,000
 16   “JMC-245”                  $1,300,000*            $150,000
 17   “JMC-185”                  $1,700,000             $ 50,000

*Represents 50% quota share amount.

DEDUCTIBLE:                    As Per Schedule of Vessels

SUBJECT TO:                    Taylor Hull Form 1953 (Rev. 70), with lines 39 through 60 deleted;
                               American Institute Hull War Risks and Strikes Clauses (9/29/09);

                               Applicable to Cashman Caspian, LLP
                               Notwithstanding the forgoing, in the event of a single occurrence involving more than one
                               vessel scheduled above, the total deductible for that occurrence under this policy shall not
                               exceed $250,000, all vessels combined.

                               Deductible to apply in the event of TL or CTL

                               Navigation limited to Port Risk Only

                               Applicable to Cashman Canada, Inc.
                               Perils amended to include “theft” and “theft of entire vessel”

EXCLUSION:                     Collision Liability




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Section II – PROTECTION & INDEMNITY/COLLISION & TOWER’S LIABILITY

      Vessel                    Annual Premium
                               REDACTED
 1    Tug “Ocean Raider 17”
 2    Tug “Atlas”
 3    Tug “Marina Orion”
 4    Tug “Marina Polaris”
 5    Tug “Miss Molly”
 6    “JMC-2508”
 7    “JMC-2509”
 8    “JMC-2511”
 9    “JMC-2515”
 10   “JMC-2516”
 11   “JMC-3003”
 12   “JMC-3009”
 13   “JMC-24”
 14   “JMC-44”
 15   “JMC-244”
 16   “JMC-245”
 17   “JMC-185”


LIMIT OF LIABILITY:           $1,000,000. any one occurrence, Combined Single Limit.

DEDUCTIBLES:                  Vessels 1-12
                              Bodily Injury
                              $5,000 any one occurrence

                              All Other Claims
                              $50,000 any one occurrence

                              Vessels 13-16
                              Bodily Injury
                              $25,000. any one occurrence, each vessel

                              All Other Claims
                              $150,000. any one occurrence, each vessel

                              Vessel 17
                              Bodily Injury
                              $5,000 any one occurrence

                              All Other Claims
                              $50,000 any one occurrence

CONDITIONS:                   AIMU 23 Protection & Indemnity Clauses;
                              American Hull Insurance Syndicate War Risk Protection & Indemnity Clauses (SP-22B)
                              Collision & Tower’s Liability Endorsement (Tugs);
                              Collision Liability Endorsement (Barges).
                              US Observers Endorsement (CHM Maritime only)


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EXCLUSIONS:                Employment Related Practices;
                           Employees and crew of the Named Assured;

APPLICABLE TO ALL SECTIONS

RATES/PREMIUMS:            Except where noted, all premium is to be billed and collected locally in Canada and
                           Kazakhstan as applicable.
                           All premiums are Cancelling Returns Only (CRO)
                           Full Premium If Lost (FPIL)

CONDITIONS:                Difference in Conditions/Difference in Limits Endorsement;
                           Additional Conditions, Warranties and Exclusions
                           Annual Review Clause

NAVIGATION:                CHM Maritime, S.A.P.I. de C.V.
                           American Institute Trade Warranties

                           Cashman Canada, Inc.
                           Inland and coastal waters of Newfoundland, Canada, between and including St. John’s and
                           Bull Arm, not north of 49o N and not east of 52o W.

                           Cashman Caspian, LLP
                           Port risk only – Port of Bautino, Topaz Base

                           Both fleets also subject to current Lloyds’ Joint War Risk Committee Listed Areas with
                           respect to war risk coverage afforded hereunder.

WARRANTED:                 1)   No release to towers.
                           2)   No release to stevedores.

EXCLUSIONS:                TRIA




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               SECTION 1 - HULL AND MACHINERY




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TAYLOR
   1953
 (Rev. 70)
     1              In consideration of the premium and the stipulations, terms and conditions hereinafter mentioned, this Company
     2        does hereby insure:
     3        Assured Cashman Equipment Corporation and As Attached
     4
     5
     6        Whose address is 161 Granite Avenue, Boston, MA 02124
     7        Loss, if any, payable to Assured, or order
     8
     9
    10        Upon the   As Per Declarations                                       called   As Per Declarations
    11        Her hull, tackle, apparel, engines, boilers, machinery,             appurtenances, equipment, stores, boats and furniture
    12        From the 31st                  day of December                      2014 ,    at 12:01 AM, Standard Time at place of issuance
    13        Until the 31st                 day of December                      2016,     at 12:01 AM, Standard Time at place of issuance
                         AMOUNT                             RATE                           PREMIUM                       AGREED VALUATION
                    INSURED HEREUNDER
    14
              $ As Per Declarations              As Per Declarations %         $ As Per Declarations              $ As Per Declarations
                                                            ___________________________

   15                Touching the adventures and perils which this Company is contented to bear and take upon itself, they are
   16         of the waters named herein, fire, lightning, earthquake, assailing thieves, jettisons, barratry of the master and
   17         mariners and all other like perils that shall come to the hurt, detriment or damage of the vessel named herein.
   18                This insurance also covers loss of or damage to the vessel named herein caused by explosion on shipboard or
   19         elsewhere.
   20         This insurance also covers loss of or damage to the vessel named herein directly caused by:
   21                       Accidents in loading, discharging or handling cargo, or in bunkering;
   22                       Accidents in going on or off, or while on drydocks, graving docks, ways, marine railways, gridirons or
   23                       pontoons;
   24                       Breakdown of motor generators or other electrical machinery and electrical connections thereto, bursting
   25                       of boilers, breakage of shafts, or any latent defect in the machinery or hull, (excluding the cost and
   26                       expense of replacing or repairing the defective part);
   27                       Breakdown of or accidents to nuclear installations or reactors not on board the vessel named herein;
   28                       Contact with aircraft, rockets or similar missiles, or with any land conveyance;
   29                       Negligence of charterers and/or repairers, provided such charterers and/or repairers are not assured(s)
   30                       hereunder;
   31                       Negligence of master, mariners, engineers or pilots;
   32         provided such loss or damage has not resulted from want of due diligence by the assured, the owners or managers
   33         of the vessel, or any of them.
   34              General average, salvage and special charges payable as provided in the contract of affreightment, or fail-
   35         ing such provision, or there be no contract of affreightment, payable in accordance with the laws and usages
   36         of the port of New York. Provided always that when an adjustment according to the laws and usages
   37         of the port of destination is properly demanded by owners of the cargo, general average shall be paid in accord-
   38         ance with same.
   39              And it is further agreed that if the vessel named herein and/or her tow, if any, shall come into collision with any
   40         other ship or vessel other than her tow, if any, and the assured in consequence of the vessel named herein being at
   41         fault shall become liable to pay and shall pay by way of damages to any other person or persons any sum or sums in
   42         respect of such collision, this Company will pay its proportion of such sum or sums so paid as the amount insured
   43         hereunder bears to the agreed valuation of the vessel named herein, provided always that this Company's liability in
   44         respect of any one such collision shall not exceed the amount insured hereunder. And in cases where the liability of
   45         the vessel named herein has been contested or proceedings have been taken to limit liability, with the consent in writ-
   46         ing of this Company, this Company will also pay a like proportion of the costs which the assured shall thereby incur,
   47         or be compelled to pay; but when both vessels are to blame, then unless the liability of the owners of one or both such
   48         vessels becomes limited by law, claims under this Collision Liability Clause shall be settled on the principle of cross
   49         liabilities as if the owners of each vessel had been compelled to pay to the owners of the other of such vessels such
   50         one half or other proportion of the latter's damages as may have been properly allowed in ascertaining the balance
   51         or sum payable by or to the assured in consequence of such collision. Provided always that this clause shall in no
   52         case extend to any sum which the assured may directly, indirectly, or otherwise incur or become liable to pay or
   53         shall pay for: removal, destruction or abatement of, or any attempt or failure or neglect to remove, destroy or abate
   54         obstructions or wrecks and/or their cargoes or any hazard resulting therefrom; loss of, or damage to, or expense,

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   55      including demurrage and/or loss of use thereof, in connection with any fixed or movable object, property or thing
   56     of whatever nature (excepting other vessels and property thereon); loss of or damage to her tow; cargo, baggage
   57     or engagements of the vessel named herein or of her tow; or for loss of life of, or injury to, or illness of,
   58     any person. And provided also that in the event of any claim under this clause being made by anyone other than the own
   59     ers of the vessel named herein, he shall not be entitled to recover in respect of any liability to which the owners of the
   60     vessel as such would not be subject, nor to a greater extent than the owners would be entitled in such event to recover.

   61           In case of any loss or misfortune it shall be lawful and necessary for the assured, their factors, servants and
   62     assigns, to sue, labor and travel for, in and about the defense, safeguard and recovery of the vessel named herein,
   63     or any part thereof, without prejudice to this insurance, to the charges whereof this Company will contribute as here-
   64     inafter provided. It is agreed that the acts of the assured or this Company, or their agents, in recovering,
   65     saving and preserving the property insured in case of disaster shall not be considered a waiver or an acceptance
   66     of an abandonment, nor as affirming or denying any liability under this policy; but such acts shall be con-
   67     sidered as done for the benefit of all concerned, and without prejudice to the rights of either party.

   68            Warranted that in case of any casualty or loss which may result in a claim under this policy the assured shall
   69     give this Company prompt notice thereof and reasonable opportunity to be represented on a survey of the damage,
   70     each party to name a surveyor, which two surveyors shall proceed to draw specifications as to the extent of the
   71     damage and the work required to make the damage good. If the two surveyors agree, such specifications shall be
   72     binding on both this Company and the assured, subject nevertheless to policy terms and conditions and the question
   73     of whether or not the disaster and resulting loss or damage are covered by this policy. In the event the two survey-
   74     ors cannot agree, they must select an umpire, and in the event they cannot agree upon an umpire, either party
   75     hereto may apply to the United States District Court for the district in which the home port of vessel named
   76     herein is located for the appointment of an umpire, pursuant to the United States Arbitration Act. The decision of
   77     the umpire so appointed shall have the same force and effect as the specifications aforesaid. When specifications
   78     have been drawn in either of the modes aforesaid, if the Company shall be dissatisfied with the terms which the
   79     assured may obtain for the repair of the damage as specified by said survey, then this Company may require the
   80     surveyors or the umpire to submit the specifications prepared as aforesaid to such shipyard, repair men, boat build-
   81     ers and shipwrights, as may be selected by such surveyors or the umpire, with a request for bids for such repairs.
   82     If after reception of such bids, the assured shall elect to accept some other bid than that of the lowest bidder, this
   83     Company shall be liable only for its proportion of so much of the sum actually expended to effect repairs
   84     specified by the surveyors for its account as does not exceed said lowest bid. In no event however shall this
   85     Company respond for an amount in excess of its proportion of the amount actually expended by the assured in
   86     effecting such repairs.
   87     With respect to physical loss or damage to the vessel named herein this Company shall be liable only for
   88                such proportion of such loss or damage as the amount insured hereunder bears to the agreed valuation.
   89     In the event of expenditure under the sue and labor clause, this Company will pay the proportion of such
   90                expenses that the amount insured hereunder bears to the agreed valuation of the vessel named herein, or that the
   91                amount insured hereunder, less loss and/or damage payable under this policy, bears to the actual value of the
   92                salved vessel, whichever proportion shall be less.
   93     When the contributory value of the vessel named herein is greater than the agreed valuation stated herein
   94                the liability of this Company for general average contribution (except in respect of amount made good to the
   95                vessel) or salvage shall not exceed that proportion of the total contribution due from the vessel that the amount
   96                insured hereunder bears to the contributory value; and if because of damage for which this Company is liable as
   97                particular average the value of the vessel has been reduced for the purpose of contribution, the amount of the
   98                particular average claim under this policy shall be deducted from the amount insured hereunder and this Com-
   99                pany shall be liable only for the proportion which such net amount bears to the contributory value.
  100            The sum of As Per Declarations shall be deducted from the total amount of any or all claims (including claims
  101     for sue and labor, collision liability, general average and salvage charges) resulting from any one accident. This
  102     deduction does not apply to claims for total or constructive total loss. For the purpose of this clause each accident
  103     shall be treated separately, but it is agreed that a sequence of damages arising from the same accident shall be
  104     treated as due to that accident.
  105     In case of loss, such loss to be paid in thirty days after satisfactory proof of loss and interest shall have
  106                been made and presented to this Company, (the amount of any indebtedness due this Company from the assured
  107                or any other party interested in this policy being first deducted).
  108     Upon making payment under this policy the Company shall be vested with all of the assured's rights of re-
  109                covery against any person, corporation, vessel or interest and the assured shall execute and deliver instruments
  110                and papers and do whatever else is necessary to severe such rights.
  111     Any agreement, contract or act, past or future, expressed or implied, by the assured whereby any right of re-
  112                covery of the assured against any vessel, person or corporation is released, decreased, transferred or lost which
  113                would, on payment of claim by this Company, belong to this Company but for such agreement, contract or act shall
  114                render this policy null and void as to the amount of any such claim, but only to the extent and to the amount that
  115                said agreement, contract or act releases, decreases, transfers, or causes the loss of any right of recovery of this
  116                Company, but the Company's right to retain or recover the full premium shall not be affected.
  117            This Company shall have the option of naming the attorneys who shall represent the assured in the prosecution
  118     or defense of any litigation or negotiations between the assured and third parties concerning any claim, loss or inter-

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  119     est covered by this policy, and this Company shall have the direction of such litigation or negotiations. If the assured
  120     shall fail or refuse to settle any claim as authorized by the Company, the liability of the Company to the assured
  121     shall be limited to the amount for which settlement could have been made.
  122            It is a condition of this policy that no suit, action or proceeding for the recovery of any claim for physical
  123     loss of or damage to the vessel named herein shall be maintainable in any court of law or equity unless the same
  124     be commenced within twelve (12) months next after the calendar date of the happening of the physical loss or
  125     damage out of which the said claim arose. Provided, however, that if by the laws of the state within which this
  126     policy is issued such limitation is invalid, then any such claim shall be void unless such action, suit or proceeding
  127     be commenced within the shortest limit of time permitted, by the laws of such state, to be fixed herein.
  128            In event of damage, cost of repairs to be paid without deduction of one-third, new for old.
  129            If claim for total loss is admitted under this policy and sue and labor expenses have been reasonably incurred in
  130     excess of any proceeds realized or value recovered, the amount payable under this policy will be the proportion of
  131     such excess that the mount insured hereunder (without deduction for loss or damage) bears to the agreed valuation
  132     or the sound value of the vessel named herein at the time of the accident, whichever value was greater.
  133            It is a condition of this insurance that this Company shall not be liable for unrepaired damage in addition
  134     to a total or constructive total loss.
  135            No recovery for a constructive total loss shall be had hereunder unless the expense of recovering and re-
  136     pairing the vessel named herein shall exceed the agreed valuation.
  137            In ascertaining whether the vessel named herein is a constructive total loss the agreed valuation shall be
  138     taken as the repaired value, and nothing in respect of the damaged or break-up value of the vessel or wreck shall
  139     be taken into account.
  140            In the event of total or constructive total loss, no claim to be made by this Company for freight, whether
  141     notice of abandonment had been given or not.
  142            Any deviation beyond the navigation limits provided herein shall void this policy; but on the return of the
  143     vessel in a seaworthy condition, within the limits herein provided, this policy shall reattach and continue in full
  144     force and effect, but in no case beyond the termination of this policy.
  145            Warranted by the assured that there shall be no other insurance covering physical loss or damage to the
  146     vessel named herein other than that which is provided in lines 15 through 33 hereof but permission granted
  147     to carry other insurance of whatever kind or nature not covered by this policy or additional amounts of insurance
  148     of the kind or nature covered by this policy other than provided in lines 15 through 33.

  149           This insurance shall be void in case this policy or the vessel named herein, shall be sold, assigned, transferred
  150     or pledged, or if there be any change of management or charter of the vessel, without the previous consent in
  151     writing of this Company.
  152           Notwithstanding anything to the contrary contained in this policy, this insurance is warranted free from
  153     any claim for loss, damage or expense caused by or resulting from capture, seizure, arrest, restraint or detainment,
  154     or the consequences thereof or of any attempt thereat, or any taking of the vessel, by requisition or otherwise,
  155     whether in time of peace or war and whether lawful or otherwise; also from all consequences of hostilities or war-
  156     like operations (whether there by a declaration of war or not), but the foregoing shall not exclude collision or
  157     contact with aircraft, rockets or similar missiles, or with any fixed or floating object (other than a mine or
  158     torpedo), stranding, heavy weather, fire or explosion unless caused directly (and independently of the nature of
  159     the voyage or service which the vessel concerned or, in the case of a collision, any other vessel involved therein,
  160     is performing) by a hostile act by or against a belligerent power, and for the purpose of this warranty "power"
  161     includes any authority maintaining naval, military or air forces in association with power; also warranted free,
  162     whether in time of peace or war, from all loss, damage or expense caused by any weapon of war employing atomic
  163     or nuclear fission and/or fusion or other reaction or radioactive force or matter.
  164           Further warranted free from the consequences of civil war, revolution, rebellion, insurrection, of civil strife
  165     arising therefrom, or piracy.
  166           If war risks are thereafter insured by endorsement on the policy, such endorsement shall supersede the above
  167     warranty only to the extent that their terms are inconsistent and only while such war risk endorsement remains
  168     in force.
  169           Warranted free of loss or damage in consequence of strikes, lockouts, political or labor disturbances, civil
  170     commotions, riots, martial law, military or usurped power or malicious acts.
  171           Either party may cancel this policy by giving ten days' notice in writing; if at the option of this Company
  172     pro rata rates, if at the request of the assured shor r te w ll e h ged -- and arrival.
                                                      _____________________________________
  173                          NAVIGATION LIMITS -- SPECIAL CONDITIONS -- ENDORSEMENTS, ETC.

  174     Attached to and made part of Policy No. MASIHBN00012714 of the Starr Indemnity & Liability Company




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                      American Institute                                                                                        87C-108
                  Hull War Risks and Strikes Clauses
     (Including Automatic Termination and Cancellation Provisions)
           For Attachment to American Institute Hull Clauses
                          September 29, 2009




1
2         To be attached to and form a part of Policy No. MASIHBN00012714 of the Starr Indemnity & Liability Company
3     ……………………………………………………………………………………………………………………………………
4
5         This insurance, subject to the exclusions set forth herein, covers only those risks which would be covered by the attached
6     Policy (including collision liability) in the absence of the WAR, STRIKES AND RELATED EXCLUSIONS clause contained
7     therein but which are excluded thereby and which risks shall be construed as also including:
8         1.    Any mine, bomb or torpedo not carried as cargo on board the Vessel;
9         2.   Any weapon of war employing atomic or nuclear fission and/or fusion or other like reaction or radioactive force or
10             matter;
11        3.   Civil war, revolution, rebellion, insurrection, or civil strife arising therefrom, or piracy;
12        4.   Strikes, lockouts, political or labor disturbances, civil commotions, riots, martial law, military or usurped power;
13        5.   Malicious acts or vandalism to the extent only that such risks are not covered by the attached Policy;
14        6.   Hostilities or warlike operations (whether there be a declaration of war or not) but this paragraph (6) shall not include
15             collision or contact with aircraft, rockets or similar missiles, or with any fixed or floating object, or stranding, heavy
16             weather, fire or explosion unless caused directly by a hostile act by or against a belligerent power which act is
17             independent of the nature of the voyage or service which the Vessel concerned or, in the case of a collision, any
18             other vessel involved therein, is performing. As used herein, “power” includes any authority maintaining naval,
19             military or air forces in association with a power;
20        7.   Confiscation or expropriation;
21        8.   Any act perpetrated by terrorists or any act carried out by any person or persons acting primarily from a political,
22             religious or ideological motive;
23        9.   Any threat of terrorist activity, actual or perceived, including closure of ports or blockage of waterways resulting
24             therefrom.
25    EXCLUSIONS

26        This insurance does not cover any loss, damage or expense caused by, resulting from, or incurred as a consequence of:
27        a.   Any hostile detonation of any weapon of war described above in paragraph (2);
28        b.   Outbreak of war (whether there be a declaration of war or not) between any of the following countries: United States
29             of America, United Kingdom, France, the Russian Federation or the People’s Republic of China;
30        c.   Delay or demurrage;
31        d.   Requisition of preemption;
32        e.   Arrest, restraint or detainment under customs or quarantine regulations and similar arrests, restraints or detainments
33             not arising from actual or impending hostilities;
34        f.   Capture, seizure, arrest, restraint, detainment, confiscation or expropriation by the Government of the United States
35             or of the country in which the Vessel is owned or registered.

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36   HELD COVERED AND OTHER PROVISIONS

37       The held covered clause appearing under the heading ADVENTURE in the attached Policy is deleted and the following
38   clause substituted therefore: -
              “Subject to the provisions of the Automatic Termination and Cancellation Clauses below, held covered in the event
39            of
40            any breach of conditions as to loading or discharging of cargo at sea, or towage or salvage activities provided (a)
41            notice is given to the Underwriters immediately following receipt of knowledge thereof by the Assured, and (b) any
42            amended terms of cover and any additional premium required by the Underwriters are agreed to by the Assured.”
43       If at the natural expiry time of this insurance the Vessel is at sea, this insurance will be extended, provided previous notice
44   be given to the Underwriters, for an additional premium at a rate to be named by the Underwriters, until midnight Local Time
45   the day on which the Vessel enters the next port to which she proceeds and for 24 hours thereafter, but in no event shall such
46   extension affect or postpone the operation of the Automatic Termination and Cancellation Clauses below.
47       The provisions of the attached Policy with respect to constructive Total Loss shall apply only to claims arising from
48   physical damage to the Vessel.
49       In the event that the Vessel shall have been the subject of capture, seizure, arrest, restraint, detainment, confiscation or
50   expropriation, and the Assured, by reason thereof, has lost the free use and disposal of the Vessel for continuous period of
51   twelve (12) months (even though condemnation has not occurred), then for the purposes of ascertaining whether the Vessel is
52   a constructive Total Loss, the Assured shall be deemed to have been deprived of the possession of the Vessel without any
53   likelihood of recovery.
54       “Restraint” as used in lines 49 to 53 above shall be deemed to include the inability of the Vessel to sail from any port or
55   place to the high seas because of closure of the connecting waterway to all vessels of similar size or draft due to blockage of
56   such waterway caused by hostilities or warlike operations.
57       Warranted not to abandon in case of capture, seizure, arrest, restraint, detention, confiscation or expropriation until after
58   condemnation of the property insured, or, in circumstances set forth at lines 49 to 56 above, after twelve (12) months,
59   whichever first occurs.
60   AUTOMATIC TERMINATION AND CANCELLATION CLAUSES

61   A. This insurance and any extension thereof, unless sooner terminated by the provisions of section B or C, shall terminate
62       automatically upon and simultaneously with the occurrence of any hostile detonation of any nuclear weapon of war as
63       defined above, wheresoever or whensoever such detonation may occur and whether or not the Vessel may be involved.
64   B. This insurance and any extension thereof, unless sooner terminated by the provisions of section A or C, shall terminate
65       automatically upon and simultaneously with the outbreak of war, whether there be a declaration of war or not, between
66       any of the following countries: United States of America, United Kingdom, France, the Russian Federation or the People’s
67       Republic of China.
68   C. This insurance and any extension thereof, unless sooner terminated by section A or B, shall terminate automatically if and
69       when the Vessel is requisitioned, either for title or use.
70   D. This insurance and any extension thereof may be cancelled at any time at the Assured’s request, or by Underwriters upon
71       seven (7) days’ written notice being given to the Assured, but in no event shall such cancellation affect or postpone the
72       operation of the provisions of sections A, B or C. Written or electronic notice sent to the Assured at his (its) last known
73       address shall constitute a complete notice of cancellation and such notice mailed or sent electronically to the said
74       Assured, care of the broker who negotiated this insurance, shall have the same effect as if sent to the said Assured direct.
75       The mailing or electronic sending of notice as foresaid shall be sufficient proof of notice and the effective date and hour of
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76      cancellation shall be seven (7) days from midnight Local Time of the day on which such notice was mailed or sent
77      electronically as aforesaid. Underwriters agree, however, to reinstate this insurance subject to agreement between
78      Underwriters and the Assured prior to the effective date and hour of such cancellation as to new rate of premium and/or
79      conditions and/or warranties.
80   RETURNS OF PREMIUM

81      The RETURNS OF PREMIUM clause of the attached Policy is deleted and the following substituted therefore: -
82          “In the event of an automatic termination or cancellation of this insurance under the provisions of sections A, B, C or
83          D above, or if the Vessel be sold, pro rata net return of premium will be payable to the Assured, provided always that
84          a Total Loss of the Vessel has not occurred during the currency of this Policy. In no other event shall there be any
85          return of premium.”

86   THIS INSURANCE SHALL NOT BECOME EFFECTIVE IF, PRIOR TO THE INTENDED TIME OF ITS ATTACHMENT,
87   THERE HAS OCCURRED ANY EVENT WHICH WOULD HAVE AUTOMATICALLY TERMINATED THIS INSURANCE
88   UNDER THE PROVISIONS OF SECTIONS A, B, OR C HEREOF HAD THIS INSURANCE ATTACHED PRIOR TO SUCH
89   OCCURRENCE.




             ALL OTHER TERMS, LIMITATIONS, CONDITIONS AND EXCEPTIONS REMAINING UNCHANGED.




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          SECTION 2 – PROTECTION & INDEMNITY/
              COLLISION & TOWER’S LIABILITY




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AIMU                                                                                                                              23
Protection and Indemnity (P and I) Clauses
June 2, 1983

To be attached to and form part of Policy No. MASIHBN00012714 of Starr Indemnity & Liability Company.                                   1
                                                       (hereinafter "the Underwriters")                                                 2

THE FOLLOWING CLAUSES ARE SUBSTITUTED FOR THOSE OF THE POLICY FORM TO WHICH                                                             3
THEY ARE ATTACHED, THE LATTER BEING VOID, EXCEPT FOR THOSE PROVISIONS REQUIRED                                                          4
BY LAW. CAPTIONS, BELOW, ARE FOR EASE OF REFERENCE ONLY AND ARE NOT TO BE USED TO                                                       5
INTERPRET THE CLAUSES.                                                                                                                  6

ASSURED

This Policy insures Cashman Equipment Corporation and As Attached                                                                       7
                                                                                                                                        8
(hereinafter, "the Assured") The Underwriters waive all rights of subrogation against affiliated or subsidiary compa-                   9
nies of the Assured but only to the extent that the liabilities of such companies are uninsured.                                       10

VESSEL

The Underwriters will indemnify the Assured in respect of the matters set forth at lines 46 through 76, below, subject                 11
to all other terms hereof, in respect of the as per declarations of as per declarations gross registered tons (hereinafter, the        12
"Vessel"). If more than one Vessel is named, all clauses shall apply as though a separate Policy had been issued for                   13
each Vessel.                                                                                                                           14

DURATION OF RISK

This Policy attaches on December 31, 2014, at 12:01 AM o'clock Eastern Standard time and expires on                                    15
December 31, 2016, at 12:01 AM o'clock Eastern Standard time. Should the Vessel be at sea at the expiration of                         16
this Policy, or in distress, or at a port of refuge or call, she shall be held covered until she reaches her port of destina-          17
tion, provided prior notice be given to the Underwriters and provided the Assured agrees to any amended terms of                       18
cover and additional premium if required by the Underwriters.                                                                          19

LIMIT OF LIABILITY

Liability hereunder in respect of all consequences of any one casualty or occurrence, including defense costs, shall not               20
exceed the sum of $ As less any applicable deductible, regardless of how many separate injuries or                                     21
claims arise out of such casualty or occurrence.                                                                                       22

DEDUCTIBLES

There shall be deducted from the total amount payable by the Underwriters with respect to all claims, including costs                  23
of defense and expenses, arising from any one casualty or occurrence:                                                                  24
         a) $ As per Declarations with respect to those claims for loss of life, bodily injury or illness, and                         25
         b) $ As per Declarations with respect to all other claims;                                                                    26
PROVIDED, HOWEVER, that the maximum deductible for any one casualty or occurrence shall not exceed the                                 27
greater of the foregoing amounts.                                                                                                      28




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PREMIUM

The Underwriters are to be paid premium of $ As per Declarations for this insurance, payable as follows:                      29

RETURN PREMIUM

If the Vessel is sold, demise chartered or requisitioned this Policy shall terminate on the date and at the hour when         32
such disposition of the Vessel is effective and the Underwriters will return premium on a pro rata daily net basis for the    33
unexpired term. If the Policy is canceled by the Assured, the Underwriters will return premium on the usual short rate        34
daily net basis for the unexpired term. If the Policy is canceled by the Underwriters they will return premium on a pro       35
rata daily net basis for the unexpired term.                                                                                  36

CANCELLATION

The Policy may be canceled by the Underwriters or by the Assured upon thirty (30) days written or telegraphic notice.         37
The Underwriters may send notice to the Assured's last address known to them, or to the broker of record at the time          38
when notice is given. At noon local time at the place of the sending of the notice on the fifteenth day after such notice     39
shall have been mailed, telegraphed or telexed, the Policy shall cease to be in effect. The Policy may also be canceled       40
at any time by mutual agreement of the Assured and the Underwriters.                                                          41

TRADING WARRANTY

Warranted that the Vessel shall be confined to                                                                                42
As per Declarations                                                                                                           43

INDEMNITY

Subject to all exclusions and other terms of this Policy the Underwriters agree to indemnify the Assured for any sums         46
which the Assured, as owner of the Vessel, shall have become liable to pay, and shall have paid, in respect of any            47
casualty or occurrence during the currency of the Policy but only in consequence of any of the matters set forth here-        48
under PROVIDED, however, that if the interest of the Assured is or includes interests other than owner of the Vessel,         49
the Underwriters' liability shall not be greater than if the Assured was the owner entitled to all defenses and limit-        50
ations of liability to which a shipowner is entitled:                                                                         51

   (1) Loss of life and bodily injury or illness: but excluding amounts paid under any compensation act.                      52

    (2) Hospital, medical or other expenses necessarily and reasonably incurred with respect to loss of life, bodily injury   53
to, or illness of, any person.                                                                                                54

   (3) Crew member burial expense not to exceed $1,000 per person.                                                            55

    (4) Repatriation expenses of crew member, excepting such as arise from the termination of any agreement in                56
accordance with its terms, or the sale of the Vessel or other voluntary act of the Assured. Wages may be included             57
in such expenses when a statute requires payment of wages while awaiting and during repatriation.                             58

   (5) Damage to any fixed or movable object or property, howsoever caused, excluding however, damage to                      59
another vessel or any property aboard it caused by collision with the Vessel.                                                 60

   (6) Cost or expense of, or incidental to, any attempted or actual removal or disposal of obstructions, wrecks or their     61
cargoes under statutory power or otherwise pursuant to law, PROVIDED, however, that there shall be deducted from              62
such claim for cost or expenses, the value of any salvage from the wreck inuring to the benefit of the Assured or any         63
subrogee thereof.                                                                                                             64


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    (7) Fines and penalties, including expenses reasonably incurred in avoiding or mitigating same, for the violation of      65
any of the laws of the United States, or any State thereof, or of any foreign country; PROVIDED, however, that the            66
Underwriters shall not be liable to indemnify the Assured against any such fines or penalties resulting directly or           67
indirectly from the failure, neglect, or default of the Assured or his managing officers or managing agents to exercise       68
the highest degree of diligence to prevent a violation of such laws.                                                          69

    (8) Extraordinary expense arising from an outbreak of contagious disease, PROVIDED that the Vessel was not                70
ordered by anyone acting on behalf of the Assured to proceed to a port where such disease was known or supposed               71
to exist.                                                                                                                     72

   (9) Costs incurred with the written consent of the Underwriters, or reasonably incurred prior to receipt of advices        73
from Underwriters, for investigation and defense of claims, valid or not, within the scope of the Policy.                     74

    (10) Port charges incurred solely for the purpose of putting in to land an injured or sick seaman or passenger, and the   75
net loss to the Assured in respect of bunkers, insurance, stores and provisions as the result of the deviation.               76

EXCLUSIONS

Notwithstanding anything to the contrary elsewhere herein the Underwriters will not indemnify the Assured in                  77
respect of any of the following matters:                                                                                      78

   (A) Any liability assumed under contract or otherwise.                                                                     79

   (B) Liability imposed on the Assured as punitive or exemplary damages, however described.                                  80

   (C) Any liability for any loss of, damage to, or expense in respect of, cargo or other property (including baggage and     81
       personal effects of passengers, mail and parcel post) carried, to be carried or which had been carried on board        82
       the Vessel, EXCEPT, HOWEVER, such liability imposed under the doctrine of cross liabilities for cargo on               83
       board the Vessel for which there is no coverage under any other policy held by the Assured.                            84

   (D) Any liability or claim for, or any loss of, damage to, or expense in respect of property owned, leased, chartered      85
       or hired by the Assured.                                                                                               86

   (E) Engagement in unlawful trade or performance or an unlawful act with knowledge of the Assured.                          87

   (F) Cancellation or breach of any contract.                                                                                88

   (G) Bad debts.                                                                                                             89

   (H) Fraud, dishonesty or insolvency of the Assured, its agents or others.                                                  90

   (I) Salvage charges, special charges, general average, freight, detention, demurrage or loss of use, of the Vessel.        91

   (J) Any liability for, or any loss, damage, or expense arising from or accruing by reason of the towage or any other       92
       vessel or craft other than emergency towage or a vessel in distress at sea to a port or place of safety, EXCEPT,       93
       HOWEVER, this exclusion shall not apply to claims for loss of life, or bodily injury to, or illness or any person.     94
       Emergency towage is deemed to be towage undertaken as a salvage service while the Vessel is on a voyage wholly         95
       unrelated to performance of such service.                                                                              96

   (K) Any liability for, or any loss, damage or expense while engaged in, or resulting from, any commercial diving           97
       operation or service from the Vessel, EXCEPT, HOWEVER, any liability incurred when the Vessel's crew is                98
       engaged in inspection or repair of the Vessel which could not be deferred until commercial divers were available.      99


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   (L) Any liability for, or any loss, damage, injury or expense resulting from nuclear radiation, fission or fusion,        100
       whether such loss, damage, injury or expense has been caused directly or indirectly or has arisen from any matter     101
       for which the Assured has responsibility or otherwise, and whether the nuclear event be controlled or un-             102
       controlled.                                                                                                           103

   (M) Any liability for, or any loss, damage, injury or expense caused by, resulting from or incurred by reason of any      104
       one or more of the following:                                                                                         105

        1) Capture, seizure, arrest, taking, restraint, detainment, confiscation, preemption, requisition or national-       106
           ization, or the consequences thereof or any attempt thereat, whether in time or peace or war and whether          107
           lawful or otherwise;                                                                                              108

        2) Any weapon of war employing atomic or nuclear fission and / or fusion or other reaction or radioactive            109
           force or matter, or by any mine, bomb or torpedo;                                                                 110

        3) Hostilities or warlike operations (whether there by a declaration or war or not), but the phrase "hostilities     111
           or warlike operations (whether there by a declaration of war or not)," shall not exclude collision or contact     112
           with aircraft, rockets or similar missiles or with any fixed or floating object, stranding, heavy weather, fire   113
           or explosion unless caused directly (independently of the nature of the voyage or service which the watercraft    114
           concerned or in the case of a collision, any other vessel involved herein, is performing) by a hostile act by     115
           or against a belligerent power; for the purpose of the foregoing, power includes any authority maintaining        116
           naval, military or air forces in association with a power. In addition to the foregoing exclusions, this in-      117
           surance shall not cover any loss, damage or expense to which a warlike act or the use of military or naval        118
           weapons is a contributing cause, whether or not the Assured's liability therefore is based on negligence or       119
           otherwise, and whether in time of peace or war. The embarkation, carriage and disembarkation of troops,           120
           combatants, or material of war, or the placement of the watercraft in jeopardy as an act or measure of war        121
           taken in the actual process or a military engagement, with or without the consent of the Assured, shall be        122
           considered a warlike act for the purposes of this Policy.                                                         123

        4) The consequences of civil war, revolution, rebellion, insurrection, military or usurped power, the imposition     124
           of martial law, or civil strife arising therefrom, or piracy; or from any loss, damage or expense caused by       125
           or resulting directly or indirectly from the act or acts of one or more persons, whether or not agents of a       126
           sovereign power, carried out for political, ideological or terrorist purposes, and whether any loss, damage       127
           or expense resulting therefrom is accidental or intentional.                                                      128

        5) Malicious acts or vandalism, strikes, lockouts, political or labor disturbances, civil commotions, riots, or      129
           the acts of any person or persons taking part in such occurrence or disorder.                                     130

   (N) Any liability for, or any loss, damage, cost, expense, fine or penalty or any kind or nature whatsoever, whether      131
       statutory or otherwise, incurred by or imposed on the Assured, directly or indirectly, in consequence or, or with     132
       respect to, the actual or potential discharge, emission, spillage or leakage upon or into the seas, waters, land or   133
       air, of substances or any kind or nature whatsoever.                                                                  134

                                                     GENERAL CONDITIONS

NOTICE OF LOSS

It is a condition of this Policy that the Assured give prompt notice to the Underwriters of any casualty or occurrence       135
which may result in a claim under this Policy.                                                                               136

FORWARDING OF PROCESS

It is a condition of this Policy that the Assured forward to the Underwriters, promptly upon receipt, copies of all          137

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communications, legal process and pleadings relating to any casualty or occurrence which may result in a claim                 138
under this Policy.                                                                                                             139

SETTLEMENT OF CLAIMS

1) It is a condition of the Policy that the Assured shall not make any admission or nor agree to assume any liability          140
   either before or after any casualty or occurrence which may result in a claim under this Policy                             141
2) It is a condition of this Policy that the Assured shall take such steps to minimize and avoid liability, before and after   142
   any casualty or occurrence, as would be taken by a prudent uninsured person.                                                143

3) The Underwriters shall have the option of naming the attorneys who shall represent the Assured in the prose-                144
   cution or defense of any litigation or negotiations between the Assured and third parties concerning any claim              145
   covered by this Policy, and in any event, the Underwriters shall direct the progress of such litigation or nego-            146
   tiations.                                                                                                                   147

4) If the Assured shall fail, or refuse, to settle any claim as authorized by the Underwriters, the liability of the Under-    148
   writers shall be limited to the amount for which settlement could have been made plus legal fees and disbursements          149
   incurred to the date the Assured fails or refuses to settle any such claim, less the amount of any deductible provided      150
   for in this Policy. If thereafter any amount is recovered against the Assured in excess of the amount of any settle-        151
   ment authorized by the Underwriters (less the deductible), such excess amount, plus any additional legal fees and           152
   disbursements, shall be solely for account of the Assured.                                                                  153

CLAIM COOPERATION

The Assured shall aid in securing information, evidence, obtaining witnesses, and shall cooperate with the Under-              154
writers in the defense of any claim or suit or in the appeal from any judgment, in respect of any casualty or occurrence       155
as hereinbefore provided.                                                                                                      156

SUBROGATION

The Underwriters shall be subrogated to all the rights which the Assured may have against any other person or entity,          157
in respect of any payment made under this Policy, to the extent of such payment, and the Assured shall, upon the               158
request of the Underwriters, execute and shall deliver such instruments and papers as the Underwriters shall require           159
and do whatever else is necessary to secure such rights. In the event of any agreement or act, past or future, by the          160
Assured, whereby any right of recovery of the Assured against any person or entity is released or lost to which the            161
Underwriters on payment of loss would be entitled to subrogation, but for such agreement or act, the Underwriters              162
shall be relieved of liability under this Policy to the extent that their rights of subrogation have been impaired             163
thereby; in such event the right of the Underwriters to retain or collect any premium paid or due hereunder shall              164
not be affected. The Underwriters shall not be liable for the costs and expenses of prosecuting any claim or suit              165
unless the same shall have been incurred with the written consent of the Underwriters, or the Underwriters shall               166
be satisfied that such approval could not have been obtained under the circumstances without unreasonable delay                167
and that such costs and expenses were reasonably and properly incurred, such costs and expenses being subject to               168
the deductible. The Underwriters shall be entitled to take credit for any profit accruing to the Assured by reason             169
of any negligence or wrongful act of the Assured's servants or agents, up to the measure of their loss, or to recover          170
for their own account from third parties any damage that may be provable by reason of such negligence or                       171
wrongful act.                                                                                                                  172

OTHER INSURANCE

Provided that where the Assured is, irrespective of this insurance, covered or protected against any loss or claim             173
which would otherwise have been paid by the Underwriters under this Policy, there shall be no contribution or par-             174
ticipation by the Underwriters on the basis or excess, contributing, deficiency, concurrent, or double insurance               175
or otherwise.                                                                                                                  176

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ASSIGNMENTS

Neither this Policy nor any claim or demand against the Underwriters under this Policy shall be assigned or trans-        177
ferred, and no person, excepting a legally appointed Receiver of the property of the Assured, shall acquire any right     178
against the Underwriters by virtue of this insurance without the express consent of the Underwriters endorsed hereon.     179
This Policy shall cease to be in effect 10 days after appointment of a Receiver, Trustee or any other transferee of the   180
Assured's assets.                                                                                                         181

TIME FOR SUIT CLAUSE

No action shall lie against the Underwriters for the recovery of any loss sustained by the Assured unless such action     182
be brought against the Underwriters within one year after the final judgment or decree is entered in the litigation       183
against the Assured, OR in case the claim against the Underwriters accrues without the entry of such final judgment       184
or decree, unless such action be brought within one year from the date of the payment by the Assured of such claim,       185
PROVIDED, however, that where such limitation of time is prohibited by the law of the State wherein this Policy           186
is issued, then, and only in that event, no action under this Policy shall be sustainable unless commenced within the     187
shortest limitation permitted under the law of such State.                                                                188




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                          COLLISION LIABILITY COVERAGE (Applicable to Barges only)

Notwithstanding lines 81 through 84 and 92 through 96 of Protection and Indemnity Clauses (AIMU - 23), it is hereby
understood and agreed that:

(a) if the vessel shall come into collision with any other ship or vessel, and the Assured or the Surety in the consequence of
    the vessel being at fault shall become liable to pay and shall pay by way of damages to any other person or persons any
    sum or sums in respect of such collision, the Underwriters will pay the Assured or the Surety, whichever shall have
    paid, such proportion of such sum or sums so paid as their respective subscriptions hereto bear to the Protection and
    Indemnity Limit of Liability for any one casualty;

(b) in cases where, with the consent in writing of a majority (in amount) of subscribing Underwriters hereto, the liability of
    the vessel has been contested, or proceedings have been taken to the limit liability, the Underwriters will also pay a like
    proportion of the costs which the Assured shall thereby incur or be compelled to pay.

When both vessels are to blame, then, unless the liability of the owners or charterers of one or both such vessels become
limited by law, claims under the Collision Liability clause shall be settled on the principle of Cross-Liabilities as if the
owners or charterers of each vessel had been compelled to pay to the owners or charterers of the other of such vessels such
one-half or other proportion of the latter’s damages as may have been properly allowed in ascertaining the balance or sum
payable by or to the Assured in consequence of such collision.

The principles involved in this clause shall apply to the case where both vessels are the property, in part or in whole, of the
same owners or charterers, all questions of responsibility and amount of liability as between the two vessels being left to the
decision of a single Arbitrator, or failing such agreement, to the decision of Arbitrators, one to be appointed by the Assured
and one to be appointed by the majority (in amount) of subscribing Underwriters interested: the two Arbitrators chosen to
choose a third Arbitrator before entering upon the reference, and the decision of such single Arbitrator, or of any two of
such three arbitrators, appointed as above, to be final and binding.

Providing always that this clause shall in no case extend to any such sum which the Assured or the Surety may become
liable to pay or shall pay in consequence of, or with respect to:

(a) the discharge spillage, emission or leakage of oil, petroleum products, chemicals or other substances of any kind or
    descriptions whatsoever;

(b) cargo or other property on or the engagements of the vessel;

Provided further that exclusion (a) above shall not apply to injury to other vessels or property thereon except to the extent
that such injury arises out of any action taken to avoid, minimize or remove any discharge, spillage, emission or leakage
described in (a) above.




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                  COLLISION AND TOWER’S LIABILITY COVERAGE (Applicable to Tugs only)

Notwithstanding lines 81 through 84 and 92 through 96 of Protection and Indemnity Clauses (AIMU - 23), it is hereby
understood and agreed that:

I)   if the vessel shall come into collision with any other vessel, craft or structure, floating or otherwise (including her tow);
     or shall strand her tow or shall cause her tow to come into collision with any other vessel, craft or structure, floating or
     otherwise, or shall cause any other loss or damage to her tow or to the freight thereof or to the property on board. and
     the Assured, or the Surety, in consequence of the insured vessel being at fault, shall become liable to pay and shall pay
     by way of damages to any other person or persons any sum or sums, the Underwriters will pay the Assured or the
     Surety, whichever shall have paid, such proportion of such sum or sums so paid as their subscriptions hereto bear to the
     Protection and Indemnity Limit of Liability, for any one casualty;

II) in cases where the liability of the vessel has been contested or proceedings have been taken to limit liability, with the
    consent (in writing) of the majority of the subscribing Underwriters hereto, Underwriters will also pay a like proportion
    of the costs which the Assured shall thereby incur or be compelled to pay.

When both vessels are to blame, then, unless the liability of the owners or charterers of one or both such vessels become
limited by law, claims under the Collision and Tower’s Liability clause shall be settled on the principle of Cross-Liabilities,
as if the owners or charterers of each vessel had been compelled to pay to the owners or charterers of the other of such
vessels such one-half or other proportion of the latter’s damages as may have been properly allowed in ascertaining the
balance or sum payable by or to the Assured in consequence of such casualty.

The principles involved in this clause shall apply to the case where two or more of the vessels involved are the property, in
part or in whole, of the same owners or charterers, all questions of responsibility and amount of liability as between the two
vessels being left to the decision of a single Arbitrator, or failing such agreement, to the decision of Arbitrators, one to be
appointed by the Assured and one to be appointed by the majority (in amount) of subscribing Underwriters hereto: the two
Arbitrators chosen to choose a third Arbitrator before entering upon the reference, and the decision of such single
Arbitrator, or of any two of such three arbitrators, appointed as above, to be final and binding.

Providing always that this Collision and Tower’s Liability clause shall in no case extend to any such sum which the Assured
or the Surety may become liable to pay or shall pay in consequence of, or with respect to:

      I) loss, damage, or expense to vessel(s) in tow owned (other than vessel(s) bareboat chartered to others), bareboat
         chartered, managed or operated by the Assured and/or its affiliated and/or subsidiary companies and/or
         corporations, and to cargo, owned by the Assured and/or its affiliated and/or subsidiary companies and/or
         corporations, on board vessel(s) in tow of the vessel(s) hereby insured; or

      II) (a) cargo, baggage or engagements of the insured vessel(s);

         (b) the discharge spillage, emission or leakage of oil, petroleum products, chemicals or other substances of any
             kind or descriptions whatsoever;

      Provided further that exclusion (b) above shall not apply to injury to other vessels or property thereon except to the
      extent that such injury arises out of any action taken to avoid, minimize or remove any discharge, spillage, emission or
      leakage described in (a) above.




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   AMERICAN HULL INSURANCE SYNDICATE                                                                             SP-22B
WAR RISK PROTECTION & INDEMNITY CLAUSES
            JANUARY 18, 1970


To be attached to and form a part of Policy No. MASIHBN00012714 of the Starr Indemnity & Liability Company

Insuring Cashman Equipment Corporation and As Attached

A. This Insurance is also to cover the liability of the assured for Protection and Indemnity Risks excluded from Marine
   Protection and Indemnity Policies commonly issued by stock companies in the United States by the following or
   substantially similar F.C. & S. Clause:

     “Notwithstanding anything to the contrary contained in this policy, no liability attaches to the company, directly or
     indirectly, for or in respect of any loss, damage or expense sustained by reason of any taking of the vessel by requisition
     or otherwise, civil war, revolution, rebellion, or insurrection, or civil strife arising therefrom, capture, seizure, arrest,
     restraint or detainment, or the consequences thereof or of any attempt threat; or sustained in consequence of military,
     naval or air action by force of arms, including mines and torpedoes or other missiles or engines or war, whether or
     enemy or friendly origin; or sustained in consequence of placing the vessel in jeopardy as an act or measure of war
     taken in the actual process of a military engagement, including embarking or disembarking troops or material of war in
     the immediate zone of such engagement; and any such loss, damage and expense shall be excluded from this policy
     without regard to whether the Assured’s liability therefor is based on negligence or otherwise, and whether before or
     after a declaration of war.”

B. This insurance includes liability of the assured arising out of strikes, riots and civil commotions and for contractual
   repatriation expenses of any member of the crew as a result of perils excluded by the aforesaid F.C. & S. Clause.

C. The Underwriters agree to accept the same percentage interest under these clauses as accepted under the Hull War
   Risks and Strikes Clauses.

D. The liability of the Underwriters under these clauses in respect of any one accident or series of accidents arising out of
   the same casualty shall be limited to the Amount Insured Hereunder.

E. Claims for which the Underwriters shall be liable under these clauses shall not be subject to any deduction.

F.   This Protection and Indemnity Insurance shall terminate automatically at the same time as the insurance afforded by the
     Hull War Risks and Strikes Clauses and upon the terms and conditions contained in the Automatic Termination and
     Cancellation provisions of said Clauses.

G. Notwithstanding the provisions of Clause F, in the event of loss or shipwreck of the vessel from any cause prior to the
   natural expiry time or automatic termination of this policy, this insurance shall continue to cover the liability of the
   assured to the crew of the insured vessel, subject to its terms and conditions and at an additional premium if so required
   by Underwriters, until the crew shall be either discharged or landed at a port or place to which the owners or charterers
   are obliged to bring them.

H. Notwithstanding any of the foregoing provisions all liabilities covered by the Second Seamen’s form of policy are
   excluded from this insurance.

                               ALL OTHER TERMS AND CONDITIONS REMAINING UNCHANGED.




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OF THE: Starr Indemnity & Liability Company.
ISSUED TO: Cashman Equipment Corporation and As Attached.



                                      EMPLOYMENT-RELATED PRACTICES EXCLUSION

It is hereby noted and agreed that the following exclusion is added to the above captioned policy:

         “Bodily Injury” arising out of any refusal to employ, termination of employment, coercion, demotion, evaluation, re-
         assignment, discipline, defamation, harassment, humiliation, discrimination or other employment-related practices,
         policies, acts, omissions, or consequential “bodily injury” as a result of the above.

          “Personal Injury” arising out of any refusal to employ, termination of employment, coercion, demotion, evaluation,
         re-assignment, discipline, defamation, harassment, humiliation, discrimination or other employment practices,
         policies, acts, omissions; or consequential “personal injury” as a result of the above.

This exclusion applies whether the insured may be held liable as an employer or in any other capacity and to any obligation to
share damages with or to repay someone else who must pay damages because of the injury.



                                             CREW AND EMPLOYEE EXCLUSION

Notwithstanding anything to the contrary contained herein, it is hereby understood and agreed that this policy shall not apply
to any liability arising out of bodily injury, loss of life, or personal injury to any:

1) captain or crewmember of any vessel insured hereunder; nor
2) employee of the Named Assured.




                  ALL OTHER TERMS, CONDITIONS, LIMITATIONS AND EXCLUSIONS REMAIN UNCHANGED.




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                     APPLICABLE TO ALL SECTIONS




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American Institute
  (July 1, 1972)                                                                                                        38J



                                  AMERICAN INSTITUTE TRADE WARRANTIES

1.      Warranted no port or place on the Eastern Coast of North America, its rivers or adjacent island
        (a)      north of 52 10’ N. Lat and west of 50 W. Long.
        (b)      in the Gulf of St. Lawrence, its connecting waters and the St. Lawrence River, in the area bounded by lines
                 drawn between Battle Harbour / Pistolet Bay; Cape Ray / Cape North; Port Hawkesbure / Port Mulgrave;
                 and Baie Comeau / Matane, between December 21st and April 30th, both days inclusive.
        (c)      west of Baie Comeau, but not West of Montreal, between December 1 st and April 30th, both days inclusive.

2.      Warranted no Great Lakes or St. Lawrence Seaway or St. Lawrence River west of Montreal.

3.      Warranted no port or place in Greenland or its adjacent waters.

4.      Warranted no port or place on the Western Coast of North America, its rivers or adjacent islands, north of 54 30'’N.
        Lat. Or west of 130 50’ W.Long; except the port of Ketchikan, Alaska, provided,
        (a)      that a qualified pilot having knowledge of local waters be on duty while the Vessel is in waters north of
                 54 30’ N. Lat. and east of 132 W. Long. And
        (b)      that the Vessel be equipped with operating Gyro Compass, Radio Direction Finder, Fathometer and Radar.

5.      Warranted no Baltic sea (or adjacent waters east of 15 E. Long.);
        (a)      north of line between Mo and Vaasa between November 15 th and May 5th, both days inclusive.
        (b)      east of a line between Viipuri (Vyborg) and Narva between November 21 st and May 5th, both days inclusive.
        (c)      north of a line between Stockholm and Tallinn between December 15 th and April 15th, both days inclusive.
        (d)      east of 22 E. Long. And south of 59 N. Lat. Between December 15th and April 15th, both days inclusive.

6.      Warranted not north of 70 N. Lat. Except when proceeding directly to or from any port or place in Norway or Kola
        Bay.

7.      Warranted no Bering Sea, no East Asian waters north of 46 N. Lat. And no port or place in Siberia except
        Vladivostock and/or Nakhodka.

8.      Warranted no Kerguelen or Croset Island, nor waters south of 50 S. Lat., except port or places in Patagonia, Chile
        and Falkland Islands, but liberty is given to enter waters south of 50 S. Lat., if proceeding to or from port or places
        not excluded by this warranty.

9.      Warranted not to sail with Indian Coal as cargo: --
        (a)      between March 1st and June 30th, both days inclusive
        (b)      between July 1st and September 30th, both days inclusive, except to port in Asia, not west of Aden nor east
                 of or beyond Singapore.

CL A210




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OF THE: Starr Indemnity & Liability Company.
ISSUED TO: Cashman Equipment Corporation and As Attached.




                      ADDITIONAL CONDITIONS, WARRANTIES AND EXCLUSIONS


1) BOOM CLAUSE: As respects all vessels equipped with derricks and/or cranes insured under this policy, no claim
   shall be payable under any section of this policy if occasioned by the weight of any load exceeding the lifting or
   supporting capacity of any crane and/or derrick boom and/or jib as established by the manufacturer.

2) NO RELEASE TO TOWERS WARRANTY: It is hereby warranted and the Named Assured agrees that the Named
   Assured shall not waive subrogation against, nor enter into any contract that holds harmless, any vessel or other entity
   engaged in the towing of vessels owned or operated by or on behalf of the Named Assured.

3) NO RELEASE TO STEVEDORES WARRANTY: It is hereby warranted and the Named Assured agrees that the
   Named Assured shall not waive subrogation against, nor enter into any contract that holds harmless, any stevedore or
   other entity engaged in the loading or offloading vessels.

4) AIMU CHEMICAL, BIOLOGICAL, BIO-CHEMICAL, AND ELECTROMAGNETIC EXCLUSION CLAUSE
   (March 1, 2003):

    This clause shall be paramount and shall override anything contained in this insurance inconsistent therewith.

    In no case shall this insurance cover loss, damage, liability or expense directly or indirectly caused by or contributed to or
    arising from an actual or threatened act involving a chemical, biological, bio-chemical or electromagnetic weapon,
    device, agent or material when used in an intentionally hostile manner.

5) INCLUSION OF ADDITIONAL ASSUREDS OR LOSS PAYEES: Wherever additional assureds or loss payees are
   added to this policy it is specifically agreed:

    A) Such additional assureds or loss payees are included only with respect to such activities insured by this policy as
       would exist in the absence of the naming of additional assureds or loss payees and coverage hereunder shall in no
       way be considered extended by the inclusion of additional assureds or loss payees.

    B) The inclusion of additional assureds or loss payees in no way increase the limit of liability hereunder.

    C) In the event of cancellation or change in policy coverage unless specifically endorsed in writing to the contrary
       hereon, no obligation is imposed on this company to send notice of cancellation or change of coverage to an
       additional assured or loss payee and notice to the original named assured shall discharge all obligations of this
       company hereunder. This company shall not be required to notify additional named assured or loss payees of any
       cancellation received from the original assured hereon.

6) AIMU EXTENDED RADIOACTIVE CONTAMINATION EXCLUSION WITH U.S.A. BuyBack (3/1/03)

       This clause shall be paramount and shall override anything contained in this insurance inconsistent therewith.

       1.     In no case shall this insurance cover loss damage liability or expense directly or indirectly caused by or
              contributed to by or arising from


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           1.1       ionizing radiations from or contamination by radioactivity from any nuclear fuel or from any nuclear
                     waste or from the combustion of nuclear fuel

           1.2       the radioactive, toxic, explosive or other hazardous or contaminating properties of any nuclear
                     installation, reactor or other nuclear assembly or nuclear component thereof

           1.3       any weapon or device employing atomic or nuclear fission and/or fusion or other like reaction or
                     radioactive force or matter.

           1.4       the radioactive, toxic, explosive or other hazardous or contaminating properties of any radioactive
                     matter. The exclusion in this sub-clause does not extend to radioactive isotopes, other than nuclear fuel,
                     when such isotopes are being prepared, carried, stored, or used for commercial, agricultural, medical,
                     scientific or other similar peaceful purposes.

                 RADIOACTIVE CONTAMINATION EXCLUSION CLAUSE (U.S.A. ENDORSEMENT)

       This insurance is subject to the Extended Radioactive Contamination Exclusion Clause (March 1, 2003) provided that
       if fire is an insured peril
       and

       where the subject matter insured or, in the case of a reinsurance, the subject matter insured by the original insurance,
       is within the U.S.A., its islands, onshore territories or possessions
       and
       a fire arises directly or indirectly from one or more of the causes detailed in Sub-Clauses 1.1, 1.2, and 1.4 of the
       Extended Radioactive Contamination Exclusion Clause March 1, 2003 any loss or damage arising directly from that
       fire shall, subject to the provisions of this insurance (reinsurance), be covered, EXCLUDING however any loss
       damage liability or expense caused by nuclear reaction, nuclear radiation, or radioactive contamination arising directly
       or indirectly from that fire.

7) THIRTY DAYS' NOTICE OF CANCELLATION: It is hereby understood and agreed that either party may cancel this policy by
    giving thirty (30) days' notice (except ten (10) in the event of non-payment of premium) in writing; if at the option of this Company
    pro-rata rates, if at the request of the Assured short rates, will be charged -- and arrival.

8) AIMU U.S. ECONOMIC AND TRADE SANCTIONS CLAUSE: Whenever coverage provided by this policy would
   be in violation of any U.S. economic or trade sanctions such as, but not limited to, those sanctions administered and
   enforced by the U.S. Treasury Department's Office of Foreign Assets Control ("OFAC"), such coverage shall be null and
   void.

    Similarly, any coverage relating to or referred to in any certificates or other evidences of insurance or any claim that
    would be in violation of U.S. economic or trade sanctions as described above shall also be null and void.



                  ALL OTHER TERMS, CONDITIONS, LIMITATIONS AND EXCLUSIONS REMAIN UNCHANGED.




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OF THE: Starr Indemnity & Liability Company.
ISSUED TO: Cashman Equipment Corporation and As Attached.



                   DIFFERENCE IN CONDITIONS(“DIC”)/DIFFERENCE IN LIMITS OF LIABILITY (“DIL”)

In consideration of the premiums set forth below, these Assurers agree that the vessels scheduled in this policy are also
insured under admitted Hull and Machinery and Protection & Indemnity policies issued to to CHM Maritime, S.A.P.I. de
C.V. by Mapfre Tepeyac S.A., Cashman Canada, Inc. by Starr Insurance and Reinsurance Limited and Cashman Caspian,
LLP by JSC Insurance Company through or at the direction of Starr Marine, a division of Starr Indemnity & Liability
Company.

Notwithstanding anything to the contrary, coverage hereunder shall be strictly limited to

1) the Difference in Conditions; and/or
2) the Difference in Limits
between the terms and limits of this “Master” policy and the terms and limits of insurance provided under such locally admitted
policies. The coverage provided hereunder shall not apply or contribute to the payment of any loss until the amount of such
local insurance shall have been exhausted, it being understood and agreed that under this Master Policy, the Assured is to be
compensated to the extent of the difference between the amount collectible from such admitted insurance and the amount of the
actual loss otherwise recoverable hereunder. Any payments made under any locally admitted policies shall be applied toward
the exhaustion of the Limits of Liability of this Master Policy as if the payments had been made under this Master Policy.
However, notwithstanding the foregoing, it is understood and agreed that coverage under this endorsement shall not be
construed in any way or manner to expand coverage for nor increase any Limits of Liability beyond that which is specified in
the Master Policy and/or any other endorsement attached to the Master Policy, including but not limited to any exclusion of risk
specified including but not limited to any exclusion of risk specified, as follows:


   AIMU Extended Radioactive Contamination Exclusions Clause hall apply unless specifically accepted in writing elsewhere
    in the Master Policy
   AIMU Nuclear Exclusion Clause - shall apply unless specifically accepted in writing elsewhere in the Master Policy
   AIMU U.S. Economic and Trade Sanctions Clause attached to the Master Policy which shall apply and govern in all cases.
   AIMU Chemical, Biological, Bio-Chemical, and Electromagnetic Clause




                ALL OTHER TERMS, LIMITATIONS, CONDITIONS AND EXCEPTIONS REMAINING UNCHANGED.




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ATTACHED TO AND FORMING PART OF POLICY NO.: MASIHBN00012714.
OF THE: Starr Indemnity & Liability Company.
ISSUED TO: Cashman Equipment Corporation and As Attached.




                THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                   TERRORISM EXCLUSION (TRIA 2002) REVISED

This insurance does not apply to loss, injury, damage, claim or suit, arising directly or indirectly as a result of a
certified “act of terrorism” defined by Section 102. Definitions, of the Terrorism Risk Insurance Act of 2002 and any
revisions or amendments.

For purposes of this endorsement and in compliance with the Terrorism Risk Insurance Act of 2002, an “act of terrorism shall
mean:

(1) Act of Terrorism –
    (A) Certification. – The term “act of terrorism” means any act that is certified by the Secretary of the Treasury of the
        United States, in concurrence with the Secretary of State, and the Attorney General of the United States --
        (i) to be an act of terrorism;
        (ii) to be a violent act or an act that is dangerous to –
              (I) human life;
              (II) property; or
              (III) infrastructure;
        (iii) to have resulted in damage within the United States, or outside of the United States in the case of –
              (I) an air carrier or vessel described in paragraph (5)(B); [for the convenience of this endorsement, paragraph
                    (5)(B) reads: occurs to an air carrier (as defined in Section 40102 of title 49, United States Code) to a
                    United States flag vessel (or a vessel based principally in the United States, on which United States income
                    tax is paid and whose insurance coverage is subject to regulation in the United States), regardless of where
                    the loss occurs, or at the premises of any United States mission];
              (II) the premises of a United States mission; and
        (iv) to have been committed by an individual or individuals, as part of an effort to coerce the civilian population of
              the United States or to influence the policy or affect the conduct of the United States Government by coercion.
    (B) Limitation. -- No act shall be certified by the Secretary as an act of terrorism if –
        (i) the act is committed as part of the course of a war declared by the Congress, except that this clause shall not
              apply with respect to any coverage for workers’ compensation; or
        (ii) property and casualty insurance losses resulting from the act, in the aggregate, do not exceed $5,000,000.
    (C) Determinations Final. – Any certification of, or determination not to certify, an act as an act of terrorism under this
        paragraph shall be final, and shall not be subject to judicial review.
    (D) Nondelegation. – The Secretary may not delegate or designate to any other officer, employee, or person, any
        determination under this paragraph of whether, during the effective period of the Program, an act of terrorism has
        occurred.



                            ALL OTHER TERMS AND CONDITIONS OF THE POLICY ARE THE SAME.




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                     ANNUAL REVIEW CLAUSE ENDORSEMENT (MULTI-YEAR POLICY)

In consideration of the premium charged, it is hereby understood and agreed that the Company shall retain the right to
exercise an annual review of this policy for the purposes of assessing continuation of the coverage, terms and conditions,
rates, and premiums hereunder. However, the Company shall only be entitled to exercise its right of non-renewal or amend
such policy terms and conditions, rates, or premiums, in the event of one or more of the following:

    A) a material change in the nature and/or scope of the Assured's operations insured hereunder;

    B) the unavailability of adequate treaty reinsurance terms or capacity to allow this policy to continue based on the
       terms and conditions of this policy at December 31, 2015. However, the rates and premium for this multi-year
       policy shall not be affected by a change in the Company’s treaty reinsurance cost.

    C) the Net Incurred Loss Ratio for “this policy” exceeds fifty percent (50%). For the purposes of this policy, Net
       Incurred Loss Ratio shall be determined by dividing total Paid and Outstanding losses (including incurred
       expenses) by the total Net Premium;


                ALL OTHER TERMS, CONDITIONS, LIMITATIONS AND EXCLUSIONS REMAIN UNCHANGED.




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ENDORSEMENT NO.: 1                                   EFFECTIVE: 12:01 AM December 31, 2015.
ATTACHED TO AND FORMING PART OF POLICY NO.: MASIHBN00012714.
OF THE: Starr Indemnity & Liability Company.
ISSUED TO: Cashman Equipment Corporation and As Attached.


It is hereby understood and agreed that in accordance with the Annual Review Clause Endorsement (Multi-Year Policy),
and in consideration of an Additional Premium of REDACTED this policy is renewed for the period December 31, 2015, 12:01
AM EST to December 31, 2016, 12:01 AM EST.

It is further understood and agreed that effective December 31, 2015, 12:01 AM EST, the Declarations page is replaced
with the attached revised Declarations page and shall include Section III – Breach of Warranty coverage as outlined therein.




                ALL OTHER TERMS, CONDITIONS, LIMITATIONS AND EXCLUSIONS REMAIN UNCHANGED.




                                                            AUTHORIZED SIGNATURE
                                                            STARR INDEMNITY & LIABILITY COMPANY
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                                    DECLARATIONS
POLICY NUMBER:        MASIHBN00012715

NAMED ASSURED:        Cashman Equipment Corporation
                      Servicio Marina Superior, LLC
                      CHM Maritime, S.A.P.I. de C.V.
                      Cashman Caspian, LLP
                      Cashman Canada, Inc.
                      Cashman de Colombia S.A.S.

ADDRESS:              41 Brooks Drive
                      Braintree, MA 02184

POLICY PERIOD:        From:      December 31, 2015, 12:01 A.M. Eastern Standard Time
                      To:        December 31, 2016, 12:01 A.M. Eastern Standard Time

COVERAGES:            Section I – Hull and Machinery
                      Section II – Protection & Indemnity incl. Collision & Tower’s Liability
                      Section III – Breach of Warranty

PREMIUM:             REDACTED – US Observers Endorsement (11 @ REDACTED )
                     REDACTED – Section III Breach of Warranty



                      Locally Admitted Policies (incl. taxes & fees) Billed Separately
                        CHM Maritime, S.A.P.I. de C.V.                Hull: REDACTED
                        (Collected in US)                             P&I:

                        Cashman Canada, Inc.                        Hull:
                                                                    P&I:

                        Cashman Caspian, LLP                        Hull:
                                                                    P&I:

INSURED VESSELS:      CHM Maritime, S.A.P.I. de C.V.
                      Tug “Ocean Raider 17”
                      Tug “Atlas”
                      Tug “Marina Orion”
                      Tug “Marina Polaris”
                      Tug “Miss Molly”
                      “JMC-2508”
                      “JMC-2509”
                      “JMC-2511”
                      “JMC-2515”
                      “JMC-2516”
                      “JMC-3003”
                      “JMC-3009”

                      Cashman Caspian, LLP
                      “JMC-24”
                      “JMC-44”
                      “JMC-244”
                      “JMC-245”
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                               Cashman Canada, Inc.
                               “JMC-185”

Section I - HULL AND MACHINERY

      Vessel                     Agreed Value           Deductible       Annual Rate Incl. War    Annual Premium
                                                                           Rates & premiums include fees and taxes

      Tug “Ocean Raider 17”
 1
 2
 3
      Tug “Atlas”
      Tug “Marina Orion”
                                 $4,200,000
                                 $8,000,000
                                 $4,000,000
                                                        $50,000
                                                        $100,000
                                                        $50,000
                                                                        REDACTED
 4    Tug “Marina Polaris”       $4,000,000             $50,000
 5    Tug “Miss Molly”           $10,500,000            $100,000
 6    “JMC-2508”                 $2,900,000             $50,000
 7    “JMC-2509”                 $2,900,000             $50,000
 8    “JMC-2511”                 $2,900,000             $50,000
 9    “JMC-2515”                 $2,900,000             $50,000
 10   “JMC-2516”                 $2,900,000             $50,000
 11   “JMC-3003”                 $5,000,000             $50,000
 12   “JMC-3009”                 $5,000,000             $50,000
 13   “JMC-24”                   $5,000,000*            $150,000
 14   “JMC-44”                   $5,000,000*            $150,000
 15   “JMC-244”                  $1,450,000*            $150,000
 16   “JMC-245”                  $1,300,000*            $150,000
 17   “JMC-185”                  $1,700,000             $ 50,000

*Represents 50% quota share amount.

DEDUCTIBLE:                    As Per Schedule of Vessels

SUBJECT TO:                    Taylor Hull Form 1953 (Rev. 70), with lines 39 through 60 deleted;
                               American Institute Hull War Risks and Strikes Clauses (9/29/09);

                               Applicable to Cashman Caspian, LLP
                               Notwithstanding the forgoing, in the event of a single occurrence involving more than one
                               vessel scheduled above, the total deductible for that occurrence under this policy shall not
                               exceed $250,000, all vessels combined.

                               Deductible to apply in the event of TL or CTL

                               Navigation limited to Port Risk Only

                               Applicable to Cashman Canada, Inc.
                               Perils amended to include “theft” and “theft of entire vessel”

EXCLUSION:                     Collision Liability
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Section II – PROTECTION & INDEMNITY/COLLISION & TOWER’S LIABILITY

       Vessel                    Annual Premium
                                 Premiums include fees and taxes

 1     Tug “Ocean Raider 17”    REDACTED
 2     Tug “Atlas”
 3     Tug “Marina Orion”
 4     Tug “Marina Polaris”
 5     Tug “Miss Molly”
 6     “JMC-2508”
 7     “JMC-2509”
 8     “JMC-2511”
 9     “JMC-2515”
 10    “JMC-2516”
 11    “JMC-3003”
 12    “JMC-3009”
 13    “JMC-24”
 14    “JMC-44”
 15    “JMC-244”
 16    “JMC-245”
 17    “JMC-185”

*Represents 50% quota share amount.

LIMIT OF LIABILITY:            $1,000,000. any one occurrence, Combined Single Limit, except $500,000 part of
                               $1,000,000 with respect to vessels 13-16.

DEDUCTIBLES:                   Vessels 1-12
                               Bodily Injury
                               $5,000 any one occurrence

                               All Other Claims
                               $50,000 any one occurrence

                               Vessels 13-16
                               Bodily Injury
                               $25,000. any one occurrence, each vessel

                               All Other Claims
                               $150,000. any one occurrence, each vessel

                               Vessel 17
                               Bodily Injury
                               $5,000 any one occurrence

                               All Other Claims
                               $50,000 any one occurrence

CONDITIONS:                    AIMU 23 Protection & Indemnity Clauses;
                               American Hull Insurance Syndicate War Risk Protection & Indemnity Clauses (SP-22B)
                               Collision & Tower’s Liability Endorsement (Tugs);
                               Collision Liability Endorsement (Barges).
                               US Observers Endorsement (CHM Maritime only)
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EXCLUSIONS:             Employment Related Practices;
                        Employees and crew of the Named Assured (except US observers as noted elsewhere)

Section III – BREACH OF WARRANTY INSURANCE

SUBJECT TO:             American Institute Single Interest Mortgage Form (7-1-63);

RATE:                   REDACTED   against amounts exposed

PREMIUM:                REDACTED




 Vessel                Amount                 Mortgagee

 “Ocean Raider 17”   REDACTED                 Banc of America Leasing
 “Marina Polaris”                             Banc of America Leasing
 JMC-2508                                     Banc of America Leasing
 JMC-2509                                     Banc of America Leasing

APPLICABLE TO ALL SECTIONS

RATES/PREMIUMS:         Except where noted, all premium is to be billed and collected locally in Canada and
                        Kazakhstan as applicable.
                        All premiums are Cancelling Returns Only (CRO)
                        Full Premium If Lost (FPIL)

CONDITIONS:             Difference in Conditions/Difference in Limits Endorsement;
                        Additional Conditions, Warranties and Exclusions
                        Annual Review Clause

NAVIGATION:             CHM Maritime, S.A.P.I. de C.V.
                        American Institute Trade Warranties

                        Cashman Canada, Inc.
                        Inland and coastal waters of Newfoundland, Canada, between and including St. John’s and
                        Bull Arm, not north of 49o N and not east of 52o W.

                        Cashman Caspian, LLP
                        Port risk only – Port of Bautino, Topaz Base

                        Both fleets also subject to current Lloyds’ Joint War Risk Committee Listed Areas with
                        respect to war risk coverage afforded hereunder.

WARRANTED:              1)    No release to towers.
                        2)    No release to stevedores.

EXCLUSIONS:             TRIA



                                               AUTHORIZED SIGNATURE
                                               STARR INDEMNITY & LIABILITY COMPANY
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       AMERICAN INSTITUTE
SINGLE INTEREST MORTGAGE FORM
               July 1, 1963

ASSURED                        To be attached to and form a part of Policy No.           MASIHBN0012715                                 o
                               Starr Indemnity & Liability Company

                       Insuring     Banc of America Leasing
                       as Mortgagee, for account of themselves. for the interest described below, said Mortgagee being herein
                       referred to as “the Assured”.

INTEREST                        Upon the interest of the Assured, as mortgagee of the Vessel       As Per Schedule
                       (hereinafter referred to as “the Vessel”).

LOSS PAYABLE           Loss, if any, payable to Assured or order.

                                As Per Schedule                                                                         Dollars.
SUM INSURED
                                Part of As Per Schedule                                                                 Dollars
                       insured this interest, being the unpaid principal amount of a valid mortgage held by the Assured on the
                       Vessel, reducing pro rata to the extent of payments made on account of the mortgage indebtedness. This
                       Policy also insures interest earned and unpaid to date of loss, which , however, with the unpaid balances,
                       shall not exceed the sum insured hereunder.

TERM                   At and from the 31st        day of   December                 20 15        , Eastern Standard           time
                       to the          31st        day of   December                 20 16        , Eastern Standard           time.
PREMIUM
                                These Underwriters to be paid in consideration of this insurance $ As Per Declarations
                       being at the rate of  REDACTED % per annum of the sum initially at risk hereunder.

CANCELLATION                    This Policy (other than for non-payment of premium) may be cancelled by either party on 30 days’
                       notice in writing. Such notice, when given by these Underwriters, shall be deemed to have been given at
                       such time as written notice shall have been mailed to the Assured at its last known address or telegraphic
                       notice sent thereto. A written or telegraphic notice sent through the brokers who negotiated this Policy or by
                       them, at the request of these Underwriters, shall operate to effect cancellation of this Policy in the same
                       manner as if sent directly by these Underwriters. Net unearned premium to be returned in the event of
                       cancellation by either party as aforesaid.

                                In the event of non-payment of premium 30 days after attachment, this Policy may be cancelled by
                       these Underwriters upon five days’ written notice being given to the Assured in the form provided for above.
                       Such proportion of the premium, however, as shall have been earned up to the time of such cancellation shall
                       be due and payable; but in the event of payment by these Underwriters of the sum insured hereunder by
                       reason of non-payment by Underwriters of the Hull Policy of a claim asserted thereunder for any liability,
                       loss, damage or expense of, to or in respect of the Vessel occurring or airing prior to cancellation, the full
                       annual premium shall be deemed earned.

TERMINATION                     Unless otherwise agreed to in writing by these Underwriters, the insurance afforded by this Policy
                       shall terminate in the event that there has been a change, voluntary or otherwise, in the ownership of the
                       Vessel or it has been placed under new management or chartered on a bareboat basis or requisitioned on that
                       basis.
CONDITIONS OF          1.       It is a condition of this insurance that during the term of this Policy:
ATTACHMENT
AND DURATION
OF RISK                (a)     the Vessel is covered by policies of insurance on the form and in the amount specified below:
                         As per Declarations


                       (b)      the Assured is named as a loss payee in the policies above described, which are herein referred to
                       collectively and separately and defined as “the Hull Policy.”
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RISKS             2.       This Policy insures only against the non-payment by Underwriters of the Hull Policy, of a claim
INSURED           asserted thereunder for any liability, loss, damage or expense occurring or arising during the term of this
AGAINST           Policy, which non-payment results from any act of, or omission by, the assured(s) named in the Hull Policy,
                  or breach of any warranty, express or implied, in the Hull Policy other than breach of the warranty contained
                  in the F.C. & S. Clause thereof;

                            PROVIDED that such act or omissions or breach of warranty occurred without the consent or
                  privity of the Assured.

EXCLUSIONS        3.       The insurance afforded by this Policy does not cover:

                           (a)      the non-payment of a claim for any liability, loss, damage or expense, or any part thereof:

                                    I. collectible under the Hull Policy or which would be collectible thereunder except for
                                       the insolvency of the underwriters thereon; or

                                    II. not recoverable under the Hull Policy by reason of any deductible or franchise
                                        included therein; or

                                    III. which has been satisfied, repaired or discharged prior to payment of a claim hereunder;
                                         or

                           (b)      any claim of the Assured arising solely out of the insolvency of the owner of the Vessel.

                           In no event shall these Underwriters indemnify or contribute to, pro rata or otherwise, Underwriters
                  of the Hull Policy.

CONDITIONS        4.       As a condition precedent to any claim hereunder, unless waived by these Underwriters:
PRECEDENT
TO CLAIM                   (a)      the underwriters of the Hull Policy must have denied the claim for any liability, loss,
                                    damage or expense which is the subject of a claim hereunder, and

                           (b)      the Assured shall have instituted suit against such Underwriters to collect such claim.

SUBROGATION       5.(a)    These Underwriters, upon payment of a loss under this Policy, shall, to the extent of such payment,
OF                be subrogated to all of the rights of the Assured under the Hull Policy, the Mortgage on the Vessel and any
UNDERWRITERS      note or bond secured thereby, and under any other instrument taken by the Assured as security for the
                  repayment of the mortgage indebtedness. On the request of these Underwriters, the Assured shall execute
                  and deliver all documents necessary to effect a valid assignment of the said policy, mortgage, note or bond,
                  and any other instrument taken by way of security as aforesaid, and of all the right, title and interest of the
                  Assured therein. Any net sum recovered by theses Underwriters in excess of the amount due to them by
                  reason of their rights of subrogation as aforesaid shall be held for the account of the Assured.

                  (b)     If any event occurs which does or could give rise to a claim under this Policy, the Assured shall not
                  in any way, whether by act or failure to act, impair these Underwriters’ rights of subrogation as aforesaid.
                  Any claim under this Policy shall be reduced to the extent that such rights of subrogation have been
                  impaired.
NOTICE OF
                  6.(a)     The Assured shall, as soon as practicable, report to these Underwriters any denial of liability by the
POSSIBLE
CLAIM AND         Underwriters of the policies described in Clause “I” hereof for a claim thereunder which denial could result
SURVEY            in a claim under this Policy.

                  (b)     Whenever requested, the Assured shall arrange for attendance at any hull survey of a surveyor
                  appointed by these Underwriters.

                            The terms and conditions of this Policy are to be regarded as substituted for those of the policy to
                  which it is attached, the latter being hereby waived, except provisions required by law to be inserted in this
                  Policy.
                            Marginal captions are inserted for purposes of convenient reference only and are not to be deemed
                  part of this Policy.
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ENDORSEMENT NO.: 2                                   EFFECTIVE: 12:01 AM April 30, 2016.
ATTACHED TO AND FORMING PART OF POLICY NO.: MASIHBN00012715.
OF THE: Starr Indemnity & Liability Company.
ISSUED TO: Cashman Equipment Corporation and As Attached.


It is hereby understood and agreed that effective April 30, 2016, the locally admitted Hull & Machinery and Protection &
Indemnity policies for Cashman Caspian, LLP are cancelled.

It is further understood and agreed that in consideration of a pro-rata Additional Premium of $70,118 and subject to the
terms and conditions of this policy, of the following vessels are insured by this policy on a direct basis:

 Vessel         Agreed Value*        Deductible      Annual Rate    Annual Hull Premium       Annual P&I Premium
 “JMC-24”

                                                     REDACTED
                $5,000,000           $150,000
 “JMC-44”       $5,000,000           $150,000
 “JMC-244”      $1,450,000           $150,000
 “JMC-245”      $1,300,000           $150,000

*Starr’s share only which represents 50% of total.




                 ALL OTHER TERMS, CONDITIONS, LIMITATIONS AND EXCLUSIONS REMAIN UNCHANGED.




                                                          AUTHORIZED SIGNATURE
                                                          STARR INDEMNITY & LIABILITY COMPANY
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ENDORSEMENT NO.: 3                                   EFFECTIVE: 12:01 A.M., December 31, 2014.
ATTACHED TO AND FORMING PART OF POLICY NO.: MASIHBN00012714.
OF THE: Starr Indemnity & Liability Company.
ISSUED TO: Cashman Equipment Corporation and As Per Policy.


Effective December 31, 2014 and in consideration of an Additional Premium of REDACTED it is hereby understood and
agreed that notwithstanding the crew and employee exclusion contained in this policy, coverage under the AIMU 23
Protection & Indemnity clauses is extended to apply to up to thirteen (13) observers employed by Servicio Marina Superior,
LLC while such observers are assigned to vessels owned or operated by CHM Maritime S.A.P.I. de C.V. Such coverage
shall be subject always to a deductible of $10,000 any one accident or occurrence.




                ALL OTHER TERMS, CONDITIONS, LIMITATIONS AND EXCLUSIONS REMAIN UNCHANGED.




                                                     AUTHORIZED SIGNATURE
                                                     STARR INDEMNITY & LIABILITY COMPANY
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ENDORSEMENT NO.: 4                                  EFFECTIVE: 12:01 A.M., December 31, 2015.
ATTACHED TO AND FORMING PART OF POLICY NO.: MASIHBN00012715.
OF THE: Starr Indemnity & Liability Company.
ISSUED TO: Cashman Equipment Corporation and As Per Policy.


                                      AMENDMENT TO ENDORSEMENT #3

Effective December 31, 2015 and in consideration of an Additional Premium of REDACTED it is hereby understood and
agreed that notwithstanding the crew and employee exclusion contained in this policy, coverage under the AIMU 23
Protection & Indemnity clauses is extended to apply to up to eleven (11) observers employed by Servicio Marina Superior,
LLC while such observers are assigned to vessels owned or operated by CHM Maritime S.A.P.I. de C.V. Such coverage
shall be subject always to a deductible of $10,000 any one accident or occurrence.




                ALL OTHER TERMS, CONDITIONS, LIMITATIONS AND EXCLUSIONS REMAIN UNCHANGED.




                                                    AUTHORIZED SIGNATURE
                                                    STARR INDEMNITY & LIABILITY COMPANY
